 Case 5:18-cr-00258-EJD Document 22 Filed 06/27/18 Page 1 of 16




                                             PAGES 1 - 15

                    UNITED STATES DISTRICT COURT

                  NORTHERN DISTRICT OF CALIFORNIA

               BEFORE THE HONORABLE SUSAN VAN KEULEN

UNITED STATES OF AMERICA,          )
                                   )
             PLAINTIFF,            )
                                   )
  VS.                              ) NO. 18-CR-00258
                                   )
ELIZABETH HOLMES AND RAMESH        )
BALWANI,                           )
                                   ) SAN JOSE, CALIFORNIA
             DEFENDANTS.           ) FRIDAY
                                   ) JUNE 15, 2018
___________________________________)




  TRANSCRIPT OF PROCEEDINGS OF THE OFFICIAL ELECTRONIC SOUND

                  RECORDING   1:46 P.M. - 2:09 P.M.

APPEARANCES:

FOR PLAINTIFF              US ATTORNEY'S OFFICE
                           NORTHERN DISTRICT OF CALIFORNIA
                           150 ALMADEN BLVD, SUITE 900
                           SAN JOSE, CALIFORNIA 95113
                     BY:   JEFFREY BENJAMIN SCHENK
                           JOHN CURTIS BOSTIC
                           ASSISTANT UNITED STATES ATTORNEYS




FOR DEFENDANT HOLMES       LAW OFFICE OF JOHN D. CLINE
                           235 MONTGOMERY STREET, SUITE 1070
                           SAN FRANCISCO, CALIFORNIA 94104
                     BY:   JOHN D. CLINE, ESQUIRE

(FURTHER APPEARANCES ON FOLLOWING PAGE)

TRANSCRIBED BY:    JOAN MARIE COLUMBINI, CSR #5435, RPR
                   RETIRED OFFICIAL COURT REPORTER, USDC
 Case 5:18-cr-00258-EJD Document 22 Filed 06/27/18 Page 2 of 16




APPEARANCES (CONTINUED):

FOR DEFENDANT HOLMES       WILLIAMS AND CONNOLLY LLP
                           725 12TH ST NW
                           WASHINGTON, DC 20016
                     BY:   KEVIN M. DOWNEY, ESQUIRE


FOR DEFENDANT BALWANI      DAVIS WRIGHT TREMAINE LLP
                           1201 THIRD AVENUE, SUITE 2200
                           SEATTLE, WASHINGTON 98101-3045
                     BY:   JEFFREY BRUCE COOPERSMITH, ESQUIRE
                           KELLY MICHELLE GORTON, ESQUIRE


ALSO PRESENT:              ALLEN LEW, PRETRIAL SERVICES
      Case 5:18-cr-00258-EJD Document 22 Filed 06/27/18 Page 3 of 16              3




1    FRIDAY, JUNE 15, 2018                                     1:46 P.M.

2    (TRANSCRIBER'S NOTE: DUE AT TIMES TO COUNSELS' FAILURE TO

3    IDENTIFY THEMSELVES WHEN SPEAKING, CERTAIN SPEAKER

4    ATTRIBUTIONS ARE BASED ON EDUCATED GUESS.)

5                                   ---O0O---

6                                  PROCEEDINGS

7

8               THE CLERK:    CALLING CRIMINAL 18-0258-1, UNITED STATES

9    VERSUS ELIZABETH HOLMES; 18-258-2, UNITED STATES VERSUS RAMESH

10   BALWANI.

11              THE COURT:    ALL RIGHT, COUNSEL.      CAN I HAVE YOUR

12   APPEARANCES, PLEASE?

13              MR. CLINE:    YOUR HONOR, JOHN CLINE FOR MS. HOLMES.

14   WITH ME IS KEVIN DOWNEY.      MR. DOWNEY IS GOING TO BE THE LEAD

15   COUNSEL.   HE'S FROM OUTSIDE THE DISTRICT.        HE'LL BE FILING A

16   PRO HAC APPLICATION PROMPTLY.

17              THE COURT:    ALL RIGHT.    GOOD AFTERNOON, MR. CLINE,

18   MR. DOWNEY.

19              MR. DOWNEY:    GOOD AFTERNOON, YOUR HONOR.

20              MR. COOPERSMITH:     YOUR HONOR, JEFF COOPERSMITH FROM

21   DAVIS, WRIGHT, TREMAINE.      I REPRESENT RAMESH BALWANI.         AND WITH

22   ME IS MY COLLEAGUE KELLY GORTON, ALSO FROM MY FIRM.

23              THE COURT:    MR. COOPERSMITH, MS. GORTON, WELCOME.

24              AND FOR THE GOVERNMENT?

25              MR. SCHENK:    GOOD AFTERNOON, YOUR HONOR, JEFF SCHENK



                      JOAN MARIE COLUMBINI, CSR, RPR
                   RETIRED OFFICIAL COURT REPORTER, USDC
                               510-367-3043
      Case 5:18-cr-00258-EJD Document 22 Filed 06/27/18 Page 4 of 16            4




1    ON BEHALF OF THE UNITED STATES.

2                MR. BOSTIC:   AND JOHN BOSTIC, ALSO FOR THE UNITED

3    STATES.   GOOD AFTERNOON, YOUR HONOR.

4                THE COURT:    MR. SCHENK, MR. BOSTIC, WELCOME.

5                ALL RIGHT.    WE'RE ON TODAY FOR INITIAL APPEARANCES

6    AND ARRAIGNMENTS OF HOLMES AND BALWANI.

7                MS. HOLMES AND MR. BALWANI, I WILL ADVISE YOU AGAIN

8    OF YOUR RIGHTS.

9                MR. SCHENK:    YOUR HONOR, I'M SORRY.      THE UNITED

10   STATES MOVE TO UNSEAL --

11               THE COURT:    THANK YOU.

12               MR. SCHENK:    -- THE CHARGING DOCUMENT.

13               THE COURT:    THANK YOU, MR. SCHENK.     THE FILE IS

14   UNSEALED.    THE CHARGING DOCUMENT IS UNSEALED.

15               MS. HOLMES, MR. BALWANI I WILL ADVISE YOU AGAIN OF

16   YOUR RIGHTS, AND THEN WE WILL REVIEW THE CHARGES THAT HAVE BEEN

17   BROUGHT AGAINST YOU, ALONG WITH THE PENALTIES ASSOCIATED WITH

18   THOSE CHARGES, AND THEN WE WILL MOVE TO FURTHER PROCEEDINGS.

19               MS. HOLMES, MR. BALWANI, YOU EACH -- EXCUSE ME -- YOU

20   EACH HAVE THE RIGHT TO REMAIN SILENT.        ANYTHING YOU SAY MAY BE

21   USED AGAINST YOU.    YOU MAY INVOKE THIS RIGHT AT ANY TIME.         EVEN

22   IF YOU'VE ALREADY STARTED TO ANSWER QUESTIONS OF THE

23   GOVERNMENT, YOU MAY STOP.

24               YOU ALSO HAVE THE RIGHT TO COUNSEL.        IF YOU CANNOT

25   AFFORD COUNSEL, ONE WILL BE APPOINTED FOR YOU.          AND YOU BOTH



                       JOAN MARIE COLUMBINI, CSR, RPR
                    RETIRED OFFICIAL COURT REPORTER, USDC
                                510-367-3043
      Case 5:18-cr-00258-EJD Document 22 Filed 06/27/18 Page 5 of 16        5




1    EACH HAVE COUNSEL THAT HAVE APPEARED ON YOUR BEHALF HERE TODAY.

2               MR. SCHENK, WOULD YOU READ THE CHARGES PLEASE?

3               MR. SCHENK:    YES, YOUR HONOR.     THE INDICTMENT

4    CONTAINS 11 CHARGES, TWO CRIMES.       THE FIRST CRIME FOUND IN

5    COUNTS ONE AND TWO OF THE INDICTMENT IS A VIOLATION OF TITLE

6    18, UNITED STATES CODE SECTION 1349, THAT IS CONSPIRACY TO

7    COMMIT WIRE FRAUD.     EACH COUNT ALLEGES A DIFFERENT CONSPIRACY.

8    THE REMAINING COUNTS IN THE INDICTMENT, THAT IS 3 THROUGH 11

9    ARE SUBSTANTIVE COUNTS OF WIRE FRAUD IN VIOLATION OF TITLE 18,

10   UNITED STATES CODE SECTION 1343.

11              THE MAXIMUM PENALTIES FOR THE OFFENSE, IF CONVICTED,

12   ARE 20 YEARS IMPRISONMENT, A $250,000 FINE, THREE YEARS OF

13   SUPERVISED RELEASE, AND A ONE HUNDRED DOLLAR SPECIAL

14   ASSESSMENT.   THAT IS FOR EACH COUNT, AND THERE ALSO IS A

15   FORFEITURE ALLEGATION IN THE INDICTMENT.

16              THE COURT:    THANK YOU.    MR. CLINE -- OH, THAT'S FINE.

17              MR. CLINE, DO YOU WAIVE A MORE PARTICULARIZED

18   READING?

19              MR. CLINE:    WE DO.

20              THE COURT:    ALL RIGHT.    AND MR. COOPERSMITH, DO YOU

21   WAIVE A MORE PARTICULARIZED READING OF THE CHARGES?

22              MR. COOPERSMITH:     YES, YOUR HONOR.

23              THE COURT:    ALL RIGHT.    AND, MR. CLINE, DO WE HAVE A

24   PLEA FOR MS. HOLMES THIS AFTERNOON?

25              MR. CLINE:    MS. HOLMES PLEADS NOT GUILTY.



                      JOAN MARIE COLUMBINI, CSR, RPR
                   RETIRED OFFICIAL COURT REPORTER, USDC
                               510-367-3043
      Case 5:18-cr-00258-EJD Document 22 Filed 06/27/18 Page 6 of 16              6




1               THE COURT:    AND, MR. COOPERSMITH, FOR DEFENDANT

2    BALWANI?

3               MR. COOPERSMITH:      MR. BALWANI PLEADS NOT GUILTY.

4               THE COURT:    THANK YOU.    THOSE PLEAS ARE ENTERED.

5               AND FROM THE GOVERNMENT, FURTHER PROCEEDINGS?

6               MR. SCHENK:    YES, WE DISCUSSED PUTTING THE MATTER IN

7    FRONT OF -- THE GOVERNMENT IS GOING TO RECOMMEND BAIL.             WE

8    DISCUSSED THE NEXT DATE.      THE CASE IS ASSIGNED TO JUDGE KOH.

9    THERE IS, AT LEAST IN THE GOVERNMENT'S VIEW, A RELATED CASE

10   BEFORE JUDGE FREEMAN, SO THE GOVERNMENT IS GOING TO FILE A

11   NOTICE OF RELATED CASES.      WE HOPE TO GET THAT ON FILE TODAY.

12              THE COURT:    OKAY.

13              MR. SCHENK:    BUT FOR TODAY'S PURPOSES, I THINK WE

14   SHOULD SET THE MATTER BEFORE JUDGE KOH.        IT'S ASSIGNED TO HER.

15              THE COURT:    WE HAVE TO.

16              MR. SCHENK:    I UNDERSTAND HER NEXT AVAILABLE IS

17   AUGUST 15 OF THIS YEAR AT 9:15 IN THE MORNING.          THE GOVERNMENT

18   WOULD REQUEST, AND I UNDERSTAND THE DEFENSE SUPPORTS, THAT TIME

19   BE EXCLUDED BETWEEN TODAY'S DATE AND THE 15TH OF AUGUST TO

20   ALLOW FOR EFFECTIVE DEFENSE PREPARATION.         SO WE CAN USE THAT AS

21   OUR DATE IN THE BOND FORM -- I'VE ALREADY SPOKEN TO ATTORNEYS

22   FOR BOTH MS. HOLMES AND MR. BALWANI ABOUT BOND CONDITIONS.              WE

23   STARTED THE FORM.

24              THE GOVERNMENT, IN SUMMARY, RECOMMENDS A $500,000

25   SIGNATURE BOND SECURED BY THE DEFENDANTS' SIGNATURE.              NO



                      JOAN MARIE COLUMBINI, CSR, RPR
                   RETIRED OFFICIAL COURT REPORTER, USDC
                               510-367-3043
      Case 5:18-cr-00258-EJD Document 22 Filed 06/27/18 Page 7 of 16        7




1    PROPERTY WILL BE PUT UP.      AND SOME OF THE STANDARD CONDITIONS,

2    WE'VE AGREED ON WHICH BOXES TO CHECK, WE'VE CHECKED THOSE

3    BOXES.

4               THE ONE THING, THOUGH, THAT I SPOKE TO PRETRIAL ABOUT

5    EARLIER AND I WANTED TO ALERT THE COURT TO IS, FOR TRAVEL

6    RESTRICTIONS, WE PROPOSE THE FOLLOWING -- AND THAT IS --

7               THE COURT:    SO LET ME JUST INTERRUPT YOU THERE FOR

8    ONE MOMENT BEFORE WE GET TOO FAR INTO THE CONDITIONS.

9               MS. HARRELL, CAN YOU CONFIRM FOR ME, PLEASE, JUDGE

10   KOH'S AVAILABILITY ON AUGUST 15TH?

11              THE CLERK:    THAT'S CORRECT, YOUR HONOR.       SHE IS

12   AVAILABLE ON AUGUST 15TH.

13              THE COURT:    OKAY.   THEN THAT WILL BE THE NEXT DATE.

14              AND, MR. CLINE, IS THAT -- YOU'VE AGREED TO THAT

15   DATE; IS THAT RIGHT?

16              MR. CLINE:    YES.

17              THE COURT:    ALL RIGHT.    AND MR. COOPERSMITH?

18              MR. COOPERSMITH:      YES, YOUR HONOR.

19              THE COURT:    OKAY.   AND EXCLUSION OF TIME, MR. CLINE?

20              MR. CLINE:    NO OBJECTION.

21              THE COURT:    AND MR. COOPERSMITH?

22              MR. COOPERSMITH:      NO OBJECTION.

23              THE COURT:    ALL RIGHT.    OKAY.   NOW TO THE CONDITIONS

24   OF RELEASE, AND THERE WAS ONE ISSUE, IT SOUNDS LIKE.

25              MR. SCHENK:    YES, I THINK WE'RE IN AGREEMENT ON ALL



                      JOAN MARIE COLUMBINI, CSR, RPR
                   RETIRED OFFICIAL COURT REPORTER, USDC
                               510-367-3043
      Case 5:18-cr-00258-EJD Document 22 Filed 06/27/18 Page 8 of 16               8




1    OF THEM.   I'D JUST LIKE TO DIRECT THE COURT'S ATTENTION TO ONE

2    PARTICULAR CONDITION, AND THAT IS THE STANDARD TRAVEL

3    RESTRICTION ORDINARILY WOULD BE TO THE NORTHERN DISTRICT.             EACH

4    DEFENDANT HAS COUNSEL OUTSIDE OF THIS DISTRICT.          THEY SHOULD BE

5    ALLOWED ACCESS TO MEET WITH THE ATTORNEY WITHOUT THE APPROVAL

6    OF THE U.S. ATTORNEY'S OFFICE.       I THINK THAT PRETRIAL WANTS

7    PRIOR NOTICE OF TRAVEL EITHER TO THE WESTERN DISTRICT OF

8    WASHINGTON FOR MR. BALWANI OR THE DISTRICT OF THE DISTRICT OF

9    COLUMBIA FOR MS. HOLMES.      SO WE WOULD EXPAND THAT TRAVEL

10   CONDITION BEYOND THE NORTHERN DISTRICT OF CALIFORNIA.

11              WE ALSO WOULD ASK -- AND I'VE SPOKEN TO OFFICER LEW

12   ABOUT THIS -- THAT FOR THE FIRST 30 DAYS PRETRIAL SERVICES AND

13   THE GOVERNMENT PREAPPROVE DOMESTIC TRAVEL REQUESTS, AND AFTER

14   THAT 30 DAYS, PRETRIAL WILL MAKE A DECISION AND WILL LIKELY

15   SUBMIT A REQUEST TO THE COURT TO REMOVE THE PREAPPROVAL TRAVEL

16   RESTRICTION REQUEST AND JUST REQUIRE NOTICE IN ADVANCE OF ALL

17   TRAVEL.

18              THE COURT:    ALL RIGHT.    AND OFFICER LEW?

19              OFFICER LEW:    GOOD AFTERNOON, YOUR HONOR.        ALLEN LEW

20   WITH U.S. PRETRIAL.

21              THE COURT:    THANK YOU.

22              OFFICER LEW:    THAT IS CORRECT, YOUR HONOR.           WE HAD AN

23   OPPORTUNITY TO DISCUSS THIS, AND THAT'S NOT A PROBLEM WITH US.

24              THE COURT:    OKAY.   ALL RIGHT.

25              OFFICER LEW:    IN TERMS OF THE TRAVEL.



                      JOAN MARIE COLUMBINI, CSR, RPR
                   RETIRED OFFICIAL COURT REPORTER, USDC
                               510-367-3043
      Case 5:18-cr-00258-EJD Document 22 Filed 06/27/18 Page 9 of 16         9




1               THE COURT:    ALL RIGHT.    AND MR. CLINE?

2               MR. CLINE:    NO OBJECTION, YOUR HONOR.

3               THE COURT:    ALL RIGHT.    AND, MR. COOPERSMITH?

4               MR. COOPERSMITH:      NO OBJECTION, YOUR HONOR.

5               ALL RIGHT.    THEN IS THERE A BOND FORM?       BOND FORMS?

6    WHY DON'T YOU TAKE A MOMENT AND REVIEW THOSE CONDITIONS IF THEY

7    ARE AS MR. SCHENK HAS IDENTIFIED?       REVIEW THOSE WITH YOUR

8    CLIENTS, AND HAVE THEM INITIAL CONDITIONS ON THE BOTTOM FORM

9    IN.

10              UNIDENTIFIED SPEAKER:      (INDISCERNIBLE) WILL DO THAT

11   AND SIGN THE FORM.

12              THE COURT:    EXACTLY.

13              UNIDENTIFIED SPEAKER:      YOUR HONOR, THE ONLY THING

14   WE'RE STRUGGLING WITH IS THE AMOUNT OF SPACE IN THE DIFFERENT

15   TRAVEL CONDITIONS.

16              THE COURT:    OKAY.    I'LL TAKE CARE OF IT.

17              UNIDENTIFIED SPEAKER:      (INDISCERNIBLE) THANK YOU.

18              THE COURT:    I'LL -- MR. SCHENK, I'LL GIVE EVERYONE AN

19   OPPORTUNITY TO SEE HOW I WRITE IT AT THE END.

20              MR. SCHENK:    THANK YOU.

21              MR. COOPERSMITH:      YOUR HONOR, MR. BALWANI SIGNED THE

22   BOND FORM, OBVIOUSLY, SUBJECT TO THE COURT (INDISCERNIBLE).

23              THE COURT:    I UNDERSTAND.

24              MR. COOPERSMITH:      THANK YOU, YOUR HONOR.

25              THE COURT:    WE GOT A LITTLE BIT AHEAD ON THE



                      JOAN MARIE COLUMBINI, CSR, RPR
                   RETIRED OFFICIAL COURT REPORTER, USDC
                               510-367-3043
     Case 5:18-cr-00258-EJD Document 22 Filed 06/27/18 Page 10 of 16      10




1    SIGNATURES FOR EXPEDIENCY, BUT LET ME HAVE THE FORM.          I'LL

2    WRITE IN THE CONDITION OR --

3              MR. COOPERSMITH:      THANK YOU, YOUR HONOR.

4              THE COURT:     EVERYONE WILL GET A CHANCE TO SEE IT

5    AGAIN BEFORE I SIGN IT.     HOW ABOUT THAT?

6              MS. HARRELL, IF YOU'LL HAND ME THE ONE YOU'RE DONE

7    WITH, I'LL TAKE A STAB AT THAT.

8              IT'S WESTERN DISTRICT OF WASHINGTON, RIGHT?

9              MR. CLINE:     YES, YOUR HONOR.

10             THE COURT:     30 DAYS FROM TODAY, MR. SCHENK, ON THE

11   TRAVEL REQUEST FOR APPROVAL, 30 DAYS FROM TODAY?

12             MR. SCHENK:     YES, YOUR HONOR.

13             THE COURT:     AFTER THE 30-DAY PERIOD, IT'S WITH NOTICE

14   TO PRETRIAL SERVICES.

15             OFFICER LEW:     YES, YOUR HONOR, AND WE'LL SUBMIT A

16   MEMORANDUM RECOMMENDING THE BOND BE MODIFIED AS LONG AS

17   EVERYTHING SEEMS TO BE WORKING OUT WELL.

18             MR. COOPERSMITH:      YOUR HONOR, ONE VERY SMALL THING.

19   THERE ARE PLENTY OF NONSTOP FLIGHTS BETWEEN THE BAY AREA AND

20   SEATTLE, BUT ONCE EVERY ONCE IN A WHILE WE HAVE TO STOP IN

21   PORTLAND OR SOMETHING.     I ASSUME THAT'S NOT AN ISSUE IF HE

22   (INDISCERNIBLE.)

23             THE COURT:     WON'T BE AN ISSUE IF HE'S IN TRANSIT.

24             MR. COOPERSMITH:      THANK YOU, YOUR HONOR.

25             THE COURT:     D.C. DISTRICT.



                      JOAN MARIE COLUMBINI, CSR, RPR
                   RETIRED OFFICIAL COURT REPORTER, USDC
                               510-367-3043
     Case 5:18-cr-00258-EJD Document 22 Filed 06/27/18 Page 11 of 16     11




1              MR. CLINE:     DISTRICT, YEAH, DISTRICT OF THE DISTRICT

2    OF COLUMBIA.

3              THE COURT:     MS. HARRELL, WOULD YOU HAND THESE BACK TO

4    COUNSEL, PLEASE?    ONE TO MR. COOPERSMITH, AND THIS ONE TO

5    MR. CLINE.   PERHAPS NOT THE MOST ELEGANT STATEMENT, BUT I

6    BELIEVE IT'S ACCURATE AND (INDISCERNIBLE).

7              UNIDENTIFIED SPEAKER:       YOUR HANDWRITING IS MUCH

8    BETTER THAN I (INDISCERNIBLE).

9              THE COURT:     WELL, I HOPE THAT'S NOT CORRECT.

10             MR. CLINE:     YOUR HONOR, ACTUALLY, I THINK SOMETHING

11   DIFFERENT WAS CONTEMPLATED.      AFTER 30 DAYS, ASSUMING PRETRIAL

12   SERVICES MAKES THE RECOMMENDATION, THAT THE DEFENDANTS WOULD BE

13   ABLE TO TRAVEL DOMESTICALLY.

14             THE COURT:     ALL DOMESTIC TRAVEL?

15             MR. CLINE:     YES, ALL DOMESTIC TRAVEL.

16             THE COURT:     ALL RIGHT.    YOU DID SAY THAT, MR. SCHENK?

17             MR. SCHENK:     THAT IS --

18             (SIMULTANEOUS COLLOQUY.)

19             THE COURT:     NO, I'LL CORRECT THAT.

20             MR. SCHENK:     THANK YOU, YOUR HONOR.

21             MR. CLINE:     YOUR HONOR, ONE OTHER THING.       SORRY

22   ABOUT, THIS.

23             THE COURT:     NO, IT'S...

24             MR. CLINE:     I THINK FOR THE FIRST 30 DAYS TRAVEL TO

25   VISIT MR. DOWNEY REQUIRES NOTICE BUT NOT APPROVAL, NOT



                       JOAN MARIE COLUMBINI, CSR, RPR
                    RETIRED OFFICIAL COURT REPORTER, USDC
                                510-367-3043
     Case 5:18-cr-00258-EJD Document 22 Filed 06/27/18 Page 12 of 16         12




1    PREAPPROVAL.    AFTER 30 DAYS, THEN IT'S NOTICE EVERYWHERE IN THE

2    U.S., NOTICE ONLY EVERYWHERE IN THE U.S., ASSUMING EVERYTHING

3    GOES WELL.   AND I THINK THE WAY THIS IS WRITTEN MAKES IT SOUND

4    LIKE SHE NEEDS TO GET APPROVAL TO GO SEE MR. DOWNEY.

5              THE COURT:     THAT'S EXACTLY THE WAY IT WAS WRITTEN

6    BECAUSE I DID NOT UNDERSTAND THE -- UNDERSTAND THAT.

7              MR. CLINE:     THE COMPLEXITY OF --

8              (SIMULTANEOUS COLLOQUY.)

9              THE COURT:     THE WAY YOU ARTICULATED, THE WAY I

10   THOUGHT I UNDERSTOOD IT.     OKAY.    LET'S TRY AGAIN.     I THINK I

11   CAN FIX THIS.

12             SO TRAVEL IN MS. HOLMES' CASE?

13             MR. SCHENK:     THE COURT MIGHT JUST WRITE "AS DESCRIBED

14   IN COURT." I THINK WE ALL UNDERSTAND EXACTLY --

15             THE COURT:     I THINK YOU DO, TOO.     I JUST WANT THE

16   FORM TO BE CORRECT.    I'VE COME THIS FAR, MR. SCHENK.        OKAY.    OR

17   I COULD JUST DO AS YOU SUGGESTED.

18             MR. COOPERSMITH:      SEEMS MORE APPEALING.

19             THE COURT:     IT'S NOT VERY OFTEN YOU GET TO TELL THE

20   JUDGE THEY MADE IT COMPLETELY WRONG, BUT THAT WAS YOUR ONE

21   OPPORTUNITY.

22             ALL RIGHT.     I HAVE THE CONDITIONS OF RELEASE AND

23   APPEARANCE FOR EACH OF THE DEFENDANTS.

24             MS. HOLMES AND MR. BALWANI, YOU'LL BE RELEASED ON THE

25   FOLLOWING CONDITIONS:



                       JOAN MARIE COLUMBINI, CSR, RPR
                    RETIRED OFFICIAL COURT REPORTER, USDC
                                510-367-3043
     Case 5:18-cr-00258-EJD Document 22 Filed 06/27/18 Page 13 of 16     13




1              YOUR RELEASE IS CONDITIONAL, AND SHOULD YOU FAIL TO

2    COMPLY WITH THESE CONDITIONS, YOUR BAIL CAN BE REVOKED AND YOU

3    CAN BE REMANDED TO CUSTODY.      YOU ARE EACH RELEASED ON A

4    $500,000 BOND.   SHOULD YOU FAIL TO MAKE FURTHER COURT

5    APPEARANCES OR COMPLY WITH THE CONDITIONS, THE GOVERNMENT CAN

6    SEEK TO ENFORCE PAYMENT OF THE BOND.

7              YOU ARE ALSO SUBJECT TO THE FOLLOWING CONDITIONS:

8    YOU ARE TO APPEAR AT ALL COURT PROCEEDINGS.

9              YOU ARE NOT TO COMMIT ANY FEDERAL, STATE, OR LOCAL

10   CRIME DURING THE PERIOD OF YOUR RELEASE.

11             YOU ARE NOT TO CONTACT, HARASS, THREATEN OR OTHERWISE

12   INTERACT WITH ANY WITNESS, VICTIM, INFORMANT, OR ANYONE ELSE

13   RELATED TO ANY CRIMINAL INVESTIGATION.

14             YOU ARE NOT TO TRAVEL OUTSIDE THE NORTHERN DISTRICT

15   OF CALIFORNIA EXCEPT, AS WE'VE DISCUSSED HERE IN COURT TODAY,

16   FOR THE PURPOSES OF SEEING COUNSEL.

17             YOU ARE TO REPORT IN PERSON IMMEDIATELY UPON YOUR

18   RELEASE TO PRETRIAL SERVICES HERE IN SAN JOSE.         CORRECT?

19             UNIDENTIFIED SPEAKER:       YES, YOUR HONOR.     WE'VE

20   ADVISED THE COUNSEL OF THAT.

21             THE COURT:     YOU ARE EACH TO SURRENDER YOUR PASSPORTS

22   TO THE COURT TODAY.    I'M READING THAT CORRECTLY, RIGHT?

23             UNIDENTIFIED SPEAKER:       YES.

24             OFFICER LEW:     YOUR HONOR, ACTUALLY, NORMALLY IT'S TO

25   OUR OFFICE, THE PASSPORTS.



                      JOAN MARIE COLUMBINI, CSR, RPR
                   RETIRED OFFICIAL COURT REPORTER, USDC
                               510-367-3043
     Case 5:18-cr-00258-EJD Document 22 Filed 06/27/18 Page 14 of 16        14




1              THE COURT:     CORRECT.   SURRENDER THE PASSPORTS TO

2    PRETRIAL SERVICES.

3              NEITHER OF YOU ARE ALLOWED TO POSSESS ANY FIREARM,

4    DESTRUCTIVE DEVICE OR OTHER DANGEROUS WEAPON.

5              YOU ARE TO HAVE NO CONTACT WITH ANY CO-DEFENDANT

6    WITHOUT THE PRESENCE OF COUNSEL, AND YOU ARE NOT TO CHANGE

7    RESIDENCE WITHOUT PRIOR APPROVAL OF PRETRIAL SERVICES.

8              MS. HOLMES, DO YOU UNDERSTAND THESE CONDITIONS OF

9    YOUR RELEASE?

10             MS. HOLMES:     YES.

11             THE COURT:     AND, MR. BALWANI, DO YOU UNDERSTAND THE

12   CONDITIONS OF YOUR RELEASE?

13             MR. BALWANI:     YES, YOUR HONOR.

14             THE COURT:     ALL RIGHT.    AND I HAVE SIGNED ON THESE,

15   MS. HARRELL.

16             THANK YOU.     ALL RIGHT.    ANYTHING FURTHER?

17             MR. SCHENK:     NO, YOUR HONOR.     JUST CONFIRMING THAT

18   THE DEFENDANTS ARE ORDERED TO APPEAR ON AUGUST 15TH.

19             THE COURT:     NEXT APPEARANCE IS BEFORE JUDGE KOH,

20   UNLESS YOU RECEIVE FURTHER NOTICE FROM THE COURT, ON

21   AUGUST 15TH.

22             ALL RIGHT.     THE DEFENDANTS WILL RETURN WITH THE

23   MARSHALS FOR PROCESSING, BUT YOU WILL BE RELEASED TODAY ON THE

24   CONDITIONS IDENTIFIED HERE IN COURT.

25             THE CLERK:     YOUR HONOR.    I'M SORRY.    EACH DEFENDANT



                       JOAN MARIE COLUMBINI, CSR, RPR
                    RETIRED OFFICIAL COURT REPORTER, USDC
                                510-367-3043
     Case 5:18-cr-00258-EJD Document 22 Filed 06/27/18 Page 15 of 16      15




1    NEEDS TO SIGN HIS OWN SURETY.

2                THE COURT:    GET YOUR SIGNATURE ON THE...

3                MR. SCHENK, ANYTHING FURTHER FROM THE GOVERNMENT?

4                MR. SCHENK:   I AM JUST CONFIRMING THAT TIME WAS

5    EXCLUDED.    I KNOW THE COURT ASKED IF THERE WAS ANY OBJECTION

6    AND THERE WAS NONE.

7                THE COURT:    NO OBJECTION.   SO TIME IS EXCLUDED FROM

8    TODAY UNTIL AUGUST 15TH TO ALLOW FOR EFFECTIVE PREPARATION OF

9    COUNSEL.

10               ANYTHING FURTHER, GENTLEMEN?

11               MR. COOPERSMITH:    NO, YOUR HONOR.

12               MR. SCHENK:   NO, YOUR HONOR.

13               MR. CLINE:    NO, YOUR HONOR.

14               THE COURT:    ALL RIGHT.   WE'RE ADJOURNED.

15               (PROCEEDINGS ADJOURNED AT 2:09 P.M.)

16

17

18

19

20

21

22

23

24

25



                       JOAN MARIE COLUMBINI, CSR, RPR
                    RETIRED OFFICIAL COURT REPORTER, USDC
                                510-367-3043
     Case 5:18-cr-00258-EJD Document 22 Filed 06/27/18 Page 16 of 16




1                        CERTIFICATE OF TRANSCRIBER

2

3         I CERTIFY THAT THE FOREGOING IS A TRUE AND CORRECT

4    TRANSCRIPT, TO THE BEST OF MY ABILITY, OF THE ABOVE PAGES OF

5    THE OFFICIAL ELECTRONIC SOUND RECORDING PROVIDED TO ME BY THE

6    U.S. DISTRICT COURT, NORTHERN DISTRICT OF CALIFORNIA, OF THE

7    PROCEEDINGS TAKEN ON THE DATE AND TIME PREVIOUSLY STATED IN THE

8    ABOVE MATTER.

9         I FURTHER CERTIFY THAT I AM NEITHER COUNSEL FOR,

10   RELATED TO, NOR EMPLOYED BY ANY OF THE PARTIES TO THE ACTION IN

11   WHICH THIS HEARING WAS TAKEN; AND, FURTHER, THAT I AM NOT

12   FINANCIALLY NOR OTHERWISE INTERESTED IN THE OUTCOME OF THE

13   ACTION.

14

15

16                           JOAN MARIE COLUMBINI

17                               JUNE 27, 2018

18

19

20

21

22

23

24

25



                      JOAN MARIE COLUMBINI, CSR, RPR
                   RETIRED OFFICIAL COURT REPORTER, USDC
                               510-367-3043
